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Local 2255 Judgment (Rev. /1)




                                    UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NORTH DAKOTA



                                               )
Jamie Nicol Nilsen
                                               )     JUDGMENT ON PETITION
          Petitioner/Defendant                 )     PURSUANT TO 28 U.S.C. § 2255
                                               )
                    v.                         )
                                               )     Criminal Case No. 1:12-cr-111
United States of America                       )
                                               )     Civil Case No.          1:16-cv-152
          Respondent/Plaintiff.                )


          IT IS ORDERED AND ADJUDGED that the Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence under 28 U.S.C. § 2255 is GLVPLVVHd, pursuant to the Order filed on

June 29, 2017.



                                               CLERK OF COURT
                                                     /s/ Renee Hellwig, Deputy Clerk
Date: June 29, 2017                            ______________________________________
                                                     6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
